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                                           1   LARSON ZIRZOW & KAPLAN, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                           3   E-mail: zlarson@lzklegal.com
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzklegal.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6
                                               Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169

                                           8   Proposed Attorneys for Debtors
                                           9

                                          10                            UNITED STATES BANKRUPTCY COURT
                                                                               DISTRICT OF NEVADA
                                          11
                                               In re:                                             Case No.: BK-S-18-16584-abl
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                                                                  Chapter 11
 LARSON ZIRZOW & KAPLAN, LLC




                                               BACHI BURGER, L.L.C.,                              (Jointly Administered)
                                          13
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14                          Debtor.

                                          15
                                               In re:                                             Case No.: BK-S-18-16584-btb
                                          16                                                      Chapter 11
                                          17   GREEN REVOLUTIONS LLC,

                                          18                          Debtor.                     Date: December 5, 2018
                                                                                                  Time: 1:30 p.m.
                                          19
                                                            APPLICATION FOR ORDER APPROVING THE EMPLOYMENT
                                          20
                                                            OF SHUMWAY VAN AS SPECIAL LITIGATION COUNSEL TO
                                          21                   DEBTORS NUNC PRO TUNC TO THE PETITION DATE

                                          22            Bachi Burger, L.L.C., a Nevada limited liability company (“Bachi Burger”), and Green

                                          23   Revolutions LLC, a Nevada limited liability company (“Green Revolutions” and together with

                                          24   Bachi Burger, the “Debtors”), debtors and debtors-in-possession, submit their application (the

                                          25   “Application”) requesting court approval pursuant to section 327(e) and 328 of title 11 of the

                                          26   United States Code (the “Bankruptcy Code”) to employ the law firm of Shumway Van

                                          27   (“Shumway Van”) nunc pro tunc to the Petition Date (as hereinafter defined) as their special

                                          28   litigation counsel. This Application is made and based on the points and authorities herein, the
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                                           1   Declaration of Michael Van, Esq. (the “Van Declaration”) filed in support, the papers and
                                           2
                                           2   pleadings on file herein, judicial notice of which are respectfully requested, and any arguments
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                                           3   of counsel made at any hearings on the Application.
                                           4
                                           4                                             Introduction
                                           5
                                           5          1.       Bachi Burger owns and operates the Bachi Burger restaurant located at 9410 W.
                                           6
                                           6   Sahara Avenue, Suite 150, Las Vegas, Nevada, and Green Revolutions owns and operates the
                                           7
                                           7   Bachi Burger restaurant located at 470 E. Windmill Lane, Suite 100, Las Vegas, Nevada. Both
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                                           8   restaurants (the “Businesses”) specialize in Asian-style gourmet burgers and sides.            The
                                           9
                                           9   Businesses are managed by Lorin Watada, who is the Debtors’ managing member.
                                          10
                                          10          2.       On November 1, 2018 (the “Petition Date”), Debtors filed their respective
                                          11
                                          11   voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the
                                          12
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                                          12   “Bankruptcy Code”), thereby commencing their bankruptcy cases (the “Chapter 11 Cases”).
                                          13
                                          13   Debtors are authorized to operate their Businesses and property as debtors in possession pursuant
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                                          14   to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors have also indicated on their
                                          15
                                          15   Voluntary Petitions that they are small business debtors pursuant to section 101(51D) of the
                                          16
                                          16   Bankruptcy Code. Additional information regarding the Debtors’ businesses is contained in the
                                          17
                                          17   Omnibus Declaration of Lorin Watada in Support of Debtors’ Initial Emergency Motions and
                                          18
                                          18   Other Relief.
                                          19
                                          19                                       Jurisdiction and Venue
                                          20
                                          20          3.       The Court has subject matter jurisdiction to consider and determine this matter
                                          21
                                          21   pursuant to 28 U.S.C. §§ 157 and 1334, and Local Rule 1001(b)(1). This is a core proceeding
                                          22
                                          22   pursuant to 28 U.S.C. § 157(b). Pursuant to LR 9014.2, Debtors consent to the entry of final
                                          23
                                          23   orders and judgments by the bankruptcy judge if it is determined that the bankruptcy judge,
                                          24
                                          24   absent the consent of the parties, cannot enter final orders or judgments in this matter consistent
                                          25
                                          25   with Article III of the United States Constitution. Venue is proper before this Court pursuant to
                                          26
                                          26   28 U.S.C. §§ 1408(1) and 1409(a).
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                                           1                                           Relief Requested
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                                           2          4.      Debtors seek court approval pursuant to sections 327(e) and 328 of the
                                           3
                                           3   Bankruptcy Code to employ and retain Shumway Van nunc pro tunc to the Petition Date as their
                                           4
                                           4   special litigation counsel and pursuant to the terms and conditions of a Contingency Fee
                                           5
                                           5   Agreement as described herein.
                                           6
                                           6                                               Retention
                                           7
                                           7          5.      On October 23, 2018, Shumway Van entered into a Contingency Fee Agreement
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                                           8   (the “Contingency Fee Agreement”) with Debtors, a true and correct copy of which is attached to
                                           9
                                           9   the Van Declaration as Exhibit 1. The Contingency Fee Agreement provides that Shumway Van
                                          10
                                          10   will receive as compensation 50% of all amounts received by way of settlement, judgment, or
                                          11
                                          11   otherwise.    In addition, Shumway Van shall advance all costs of the litigation including
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                                               expenses of representation, investigation and preparation of the case. Once any litigation is
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                                          12
                                          13
                                          13   completed, all costs will be paid from the proceeds. If the Debtors do not prevail in any
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                                          14   litigation, Shumway Van will not receive any reimbursement for costs.
                                          15
                                          15          6.      Debtors selected Shumway Van as their special counsel because of the firm’s
                                          16
                                          16   longstanding representation of the Debtors pre-petition, the law firm’s historical knowledge of
                                          17
                                          17   the facts and circumstances involved in the proposed litigation, and that Shumway Van was
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                                          18   willing to engage in such representation pursuant to the terms and conditions of the Contingency
                                          19
                                          19   Fee Agreement, which has substantially favorable terms that the Debtors likely cannot obtain
                                          20
                                          20   from any other professional.
                                          21
                                          21                                           Scope of Services
                                          22
                                          22          7.      Shumway Van’s services are appropriate and necessary in order for the Debtors to
                                          23
                                          23   maximize the value of their estates. Indeed, Debtors anticipate that the litigation recoveries that
                                          24
                                          24   Shumway Van may generate will contribute to the funding of the Debtors’ operations and
                                          25
                                          25   funding of its chapter 11 plan of reorganization.        Among potential other litigations that
                                          26
                                          26   Shumway Van may commence on behalf of the Debtors include collection litigation against a so-
                                          27
                                          27   called “debt solutions company” who claims to have represented the Debtors pre-petition with
                                          28
                                          28   respect to the negotiation of its outstanding tax liabilities, but which company actually proved to


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                                           1   be utterly inexperienced and incompetent, thus costing the Debtors a substantial amount of time
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                                           2   and money, as whose professional negligence substantially contributed to the Debtors’ need to
                                           3
                                           3   seek bankruptcy relief.
                                           4
                                           4             8.       Shumway Van may also be involved in the litigation of other matters for the
                                           5
                                           5   benefit of the Debtors’ estates, including but not necessarily limited to litigation against one of
                                           6
                                           6   the prior owners of the business, whose actions and mismanagement were largely responsible for
                                           7
                                           7   the large outstanding tax claims, which are one of the principal reasons the Debtors needed to
                                           8
                                           8   seek bankruptcy relief. Finally, Shumway Van may assist general reorganization counsel with
                                           9
                                           9   respect to the potential review and/or litigation of certain aspects of the tax claims involved in
                                          10
                                          10   the case given their prior involvement in such matters pre-petition. Shumway Van will work
                                          11
                                          11   closely with the Debtors’ proposed general reorganization counsel at Larson Zirzow & Kaplan,
                                          12
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                                               LLC to avoid any duplication of services, and so as to minimize whenever possible the overall
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                                          12
                                          13
                                          13   costs and expenses to the estate as a result of the various professionals involved.
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                                          14             9.       Subject to this Court’s approval of the Application, Shumway Van is willing to
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                                          15   serve as Debtors’ special litigation counsel, subject to the terms and conditions of the
                                          16
                                          16   Contingency Fee Agreement.
                                          17
                                          17                                            No Adverse Interest
                                          18
                                          18             10.      Section 327(e) of the Bankruptcy Code authorizes a trustee, with court approval,
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                                          19   to hire an attorney for a “specified special purpose,” and other than to represent the trustee in
                                          20
                                          20   conducting the case, if the attorney does not represent or hold an interest adverse to the debtor or
                                          21
                                          21   estate “with respect to the matter on which such attorney is to be employed.” 11 U.S.C. §
                                          22
                                          22   327(e).        Pursuant to section 327(e) of the Bankruptcy Code, an attorney who previously
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                                          23   represented the debtor or who has a claim against the debtor is not precluded from employment
                                          24
                                          24   as special counsel, provided the attorney’s interests are not adverse to the debtor or the estate as
                                          25
                                          25   to the specified matters on which it is proposed to be retained. See Film Ventures Int’l, Inc. v.
                                          26
                                          26   Asher (In re Film Ventures Int’l, Inc.), 75 B.R. 250, 252 (B.A.P. 9th Cir. 1987); Fondiller v.
                                          27
                                          27   Robertson (In re Fondiller), 15 B.R. 890, 891-893 (B.A.P. 9th Cir. 1981).
                                          28
                                          28             11.      Pursuant to section 327(e) of the Bankruptcy Code, to the best of its knowledge,


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                                           1   Shumway Van and its attorneys do not hold or represent any interest adverse to Debtors’ estates
                                           2
                                           2   with respect to the specified matters on which it is to be employed.
                                           3
                                           3          12.     Pursuant to Fed. R. Bankr. P. 2014(a), Shumway Van discloses that it has a pre-
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                                           4   petition connection to the Debtors given its longstanding representation of them pre-petition in
                                           5
                                           5   their various business and corporate affairs, however, neither the firm nor any attorney thereof
                                           6
                                           6   has any present or prior connection with Debtors’ creditors or any other party in interest, their
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                                           7   respective attorneys and accountants, the United States Trustee, or any person employed in the
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                                           8   Office of the United States Trustee.
                                           9
                                           9                                             Compensation
                                          10
                                          10          13.     Pursuant to the proposed Contingency Fee Agreement attached to the Van
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                                          11   Declaration, the services provided by Shumway Van will be on a contingency basis of 50% of
                                          12
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                                               any net amounts recovered, and after all costs have been paid. In other words, the Debtors will
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                                          12
                                          13
                                          13   not incur any out of pocket costs unless and until Shumway Van actually recovers an amount for
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                                          14   the benefit of the Debtors and their estates.
                                          15
                                          15          14.     Debtors understand that Shumway Van hereafter intends to apply to the Court for
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                                          16   allowance of compensation and reimbursement of expenses; provided, however, that its fees for
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                                          17   compensation shall be subject to review under section 328(a) of the Bankruptcy Code, and not
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                                          18   pursuant to section 330 of the Bankruptcy Code. Shumway Van’s expenses shall be subject to
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                                          19   review pursuant to section 330. Shumway Van understands that its compensation is subject to
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                                          20   prior Court approval.
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                                           1                                                Conclusion
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                                           2           WHEREFORE, Debtors respectfully request entry of an order in the form attached hereto
                                           3
                                           3   as Exhibit 1 thereby authorizing the employment of Shumway Van as their special litigation
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                                           4   counsel to render the legal services described herein, with compensation and reimbursement of
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                                           5   expenses to be paid as an administrative expense in such amounts as may be allowed by the
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                                           6   Court pursuant to the provisions of section 328(a) of the Bankruptcy Code, and with such
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                                           7   approval being granted nunc pro tunc to the Petition Date. Debtors also request such other and
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                                           8   further relief as is jus and proper.
                                           9
                                           9           Dated: November 5, 2018.
                                          10
                                          10   Accepted and Agreed:                            Prepared and Submitted:
                                          11
                                          11
                                          12   By: /s/ Michael Van                             By: /s/ Matthew C. Zirzow
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               SHUMWAY VAN                                     LARSON ZIRZOW & KAPLAN, LLC
 LARSON ZIRZOW & KAPLAN, LLC




                                          12
                                          13   MICHAEL VAN, ESQ.                               ZACHARIAH LARSON, ESQ.
                                          13   Nevada Bar No. 3876                             Nevada Bar No. 7787
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                               E-mail: michael@shumwayvan.com                  E-mail: zlarson@lzklegal.com
                                          14   Elizabeth Aronson, Esq.                         MATTHEW C. ZIRZOW, ESQ.
                                          15
                                          15   Nevada Bar No. 14472                            Nevada Bar No. 7222
                                          16   E-mail: earonson@shumwayvan.com                 E-mail: mzirzow@lzklegal.com
                                          16   8985 S. Eastern Ave., Suite 100                 850 E. Bonneville Ave.
                                          17   Las Vegas, Nevada 89123                         Las Vegas, Nevada 89101
                                          17
                                          18
                                               Proposed Special Counsel to Debtors             Proposed Attorneys for Debtors
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